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 4
     Attorney for Defendant
 5 HOVIK MKRTCHIAN
 6
 7                                UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
      THE UNITED STATES OF AMERICA,               ) CASE NO. 2:12-cr-0322-MCE
10                                                )
                        Plaintiff,                )
11                                                ) ORDER PERMITTING TRAVEL FOR
      v.                                          ) DEFENDANT HOVIK MKRTCHIAN
12                                                )
      HOVIK MKRTCHIAN,                            )
13                                                )
                                                  )
14                     Defendant.                 )
                                                  )
15                                                )
                                                  )
16
17          Good cause having been shown; it is hereby ordered that defendant Hovik Mkrtchian be
18 given permission to travel to New York City, New York from the dates May 14 to May 20
19
     inclusive.
20
            It is so ordered.
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     Dated: May 28, 2014
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